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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,                  Civil Action No. 21-3354 (BAH)

                        v.                           Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.


                          MEMORANDUM OPINION AND ORDER

       On the eve of the jury trial on damages scheduled to begin December 11, 2023, nearly two

years after plaintiffs first made a proper jury demand, see Compl., ECF No. 1, and three months

after this Court directed the entry of default judgment against defendant Rudolph W. Giuliani as a

sanction for “the willful shirking of his discovery obligations in anticipation of and during this

litigation, Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL 5600316, at *2 (D.D.C. Aug.

30, 2023) (“Default Judgment Decision”); Default Judgment Order, ECF No. 93, Giuliani now

moves to contest the holding of a jury trial on the quantification of damages, despite

simultaneously disputing, as a factual matter, that plaintiffs are owed any more than nominal

damages, Parties’ Joint Pretrial Submission (“JPTS”), App. E, Def.’s Obj. Pls.’ Proposed Jury

Instr. at 3, ECF No. 105-5 (indicating defendant’s position that plaintiffs are not “entitled to

anymore [sic] than per se nominal damages”). In a short one-and-a-half page “Trial Brief,” Giuliani

argues that “a jury trial is inappropriate on the issue of damages when a Court has issued a default

judgment as a sanction” and contends “this case should be converted into a hearing/bench trial.”

Def.’s Trial Brief on Propriety of Jury Trial and Obj. to Jury Trial (“Def.’s Trial Brief”) at 1, ECF



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No. 107; see also Def.’s Reply Brief in Supp. of Trial Brief on Propriety of Jury Trial and Obj. to

Jury Trial (“Def.’s Reply”), ECF No. 111.

        Giuliani’s position that the long-standing jury demand in this case was extinguished when

he was found liable on plaintiffs’ claims by default, is wrong as a matter of law. Regardless of

whether federal procedural rules and the civil jury right under the Seventh Amendment to the U.S.

Constitution so require, a jury may properly hear the damages component of plaintiffs’ case. This

is particularly true under the circumstances here, where the amount of damages owed is contested

and the types of such contested damages are “peculiarly within the province of the jury,” Atl.

Sounding Co. v. Townsend, 557 U.S. 404, 409 (2009) (quoting Feltner v. Columbia Pictures

Television, Inc., 523 U.S. 340, 353 (1998)), and where approving Giuliani’s belated objection to

plaintiffs’ jury demand, less than two weeks before the start of trial, would, in this context, unfairly

abrogate plaintiffs’ jury trial rights “by virtue of his own misconduct,” Pls.’ Opp’n to Def.’s Trial

Brief (“Pls.’ Opp’n”) at 10, ECF No. 109. Giuliani’s objection to a jury determination of damages

is therefore rejected for reasons explained more fully below.

  I.   BACKGROUND

        The factual background of this case has been detailed previously in prior decisions. See

Default Judgment Decision, 2023 WL 5600316, at *3–12, 26 (directing the entry of default

judgment against Giuliani on liability); Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL

4750552, at *3–6, 10 (D.D.C. July 13, 2023) (granting in part plaintiffs’ motion to compel

discovery from non-party witness Bernard Kerik); Freeman v. Giuliani, No. 21-cv-3354 (BAH),

2023 WL 5282593, at *1–2 (D.D.C. June 23, 2023) (granting plaintiffs’ attorneys’ fees and costs

for successful motion to compel); Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2022 WL

16551323, at *1–5, 11 (D.D.C. Oct. 31, 2022) (“Dismissal Denial Decision”) (denying Giuliani’s



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motion to dismiss plaintiffs’ Amended Complaint). Only the factual and procedural history

pertinent to resolving Giuliani’s pending jury trial objection is summarized below.

       Plaintiffs filed the instant lawsuit with a jury demand nearly two years ago, on December

23, 2021, and reiterated that demand in their amended complaint, filed May 10, 2022. See Compl.;

Am. Compl., ECF No. 22. As the case advanced to discovery, Giuliani repeatedly flouted basic

preservation and production duties, frustrating plaintiffs’ procedural rights to obtain any

meaningful discovery in this case, see Default Judgment Decision, 2023 WL 5600316, at *3–12,

necessitating the entry of default judgment against Giuliani on liability as a discovery sanction,

pursuant to Federal Rule of Civil Procedure 37(b) and (e), id. at *26 (citing FED. R. CIV. P.

37(b)(2)(A)(vi) and (e)(2)(C)). The Court instructed that “[b]efore final judgment may be entered

reflecting the amount of compensatory and punitive damages, if any, to be awarded to plaintiffs, a

trial on such damages is required[.]” Id. (citing FED. RULE CIV. PROC. 55(b)(2)(B) (authorizing,

following entry of default judgment, “[t]he court may conduct hearings or make referrals—

preserving any federal statutory right to a jury trial—when, to enter or effectuate judgment, it needs

to . . . determine the amount of damages”)). To effectuate the judgment, the Court directed that

certain adverse evidentiary inferences against Giuliani would be read to the jury at the forthcoming

damages trial, id., and directed the parties to submit “a proposed schedule . . . for trial,” Default

Judgment Order at 1–2.

       In compliance with the Default Judgment Decision and Order, the parties jointly proposed

a schedule that included deadlines for the submission of pretrial motions in limine and the start of

trial, “including voir dire.” Parties’ Joint Proposed Pretrial and Trial Schedule at 2–3, ECF No.

99. The Court’s subsequent scheduling order, which generally adopted the parties’ jointly

suggested deadlines designed to effectuate the advancement of a jury case, set out deadlines for



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the “fil[ing] [of] any pretrial motions” and for the parties’ appearance for “jury selection for a trial

in this matter.” Minute Order (Sept. 20, 2023). After Giuliani chose not to comply with plaintiffs’

document requests for his financial-related information and records, as required in the Default

Judgment Decision and Order, additional sanctions were imposed against him, including four

additional adverse inferences on which the “jury [would] be instructed,” and an order that Giuliani

was precluded from introducing any argument based on evidence “that ha[d] not been disclosed or

produced during discovery”; that Giuliani had “received no financial benefits, or . . . only

immaterial or insubstantial financial benefits, from the statements he made about Plaintiffs”; or

that Giuliani was “insolvent, bankrupt, judgment proof, or otherwise unable to defend himself,

comply with this Court’s orders, or satisfy an eventual judgment.” Additional Sanctions Order at

4–5, ECF No. 102.

        Over the course of this litigation, Giuliani raised no objection to plaintiffs’ jury demand.

        On November 14, 2023, less than one month before trial was scheduled to begin, the parties

jointly filed a pretrial submission providing, in accordance with the Standing Order ¶ 10, ECF No.

4, items necessary for the jury trial on damages, including proposed voir dire questions, a joint

proposed jury verdict form, and a competing set of proposed jury instructions. See generally JPTS;

id., App. C, Joint Proposed Voir Dire, ECF No. 105-3; id., App. F, Joint Proposed Verdict Form,

ECF No. 105-6; id., App. E, Def.’s Obj. Pls.’ Proposed Jury Instr., ECF No. 105-5. A footnote in

that submission noted, for the first time, that Giuliani intended to “file a [] trial brief that will argue

a jury trial is inappropriate.” Id. at 21 n.9. On November 20, 2023, over a month past the deadline

ordered by this Court to file “any pretrial motions,” Minute Order (Sept. 20, 2023), Giuliani

submitted his “Trial Brief” contesting in a single paragraph of “Argument and Authorities,” “a




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jury trial on the remaining issues of damages.” Def.’s Trial Brief at 1–2. 1 With the filing of

plaintiffs’ opposition and Giuliani’s Reply on an expedited briefing schedule, this issue became

ripe for resolution at 2:00 p.m. on November 30, 2023. See Minute Order (Nov. 21, 2023).

 II.     DISCUSSION

         Plaintiffs contend that they “are entitled to a jury trial on their claims under the Seventh

Amendment and the Federal Rules of Civil Procedure.” Pls.’ Opp’n at 1 (emphasis in original).

Giuliani does not dispute that their pending three claims for defamation, intentional infliction of

emotional distress, and civil conspiracy to commit those torts “are among the ‘proceedings’ that

are ‘unmistakably actions at law triable to a jury,’ and therefore within the Seventh Amendment’s

guarantee[.]” Id. at 10 (quoting Ross v. Bernhard, 396 U.S. 531, 533 (1970), and citing Curtis v.

Loether, 415 U.S. 189, 195–96 & n.10 (1974) (“[T]he relief sought here—actual and punitive

damages—is the traditional form of relief offered in the courts of law.”))); see generally Def.’s

Trial Br. and Def.’s Reply. Further, as plaintiffs point out, the federal procedural rules expressly

provide, in Rule 38(a), that “[t]he right of trial by jury as declared by the Seventh Amendment to

the Constitution—or as provided by a federal statute—is preserved to the parties inviolate,” id. at

10 (quoting FED. R. CIV. P. 38(a)), and, in Rule 39(a), that the “trial on all issues so demanded

must be by jury unless . . . the parties or their attorneys file a stipulation to a nonjury trial or so

stipulate on the record,” id. at 11 (emphasis in original) (quoting FED. R. CIV. P. 39(a)(1)). No

such stipulation for a nonjury trial has been entered here, with the result, in plaintiffs’ view, that

their properly asserted jury demand remains intact and “should be the end of the analysis.” Id.


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            Perhaps Giuliani’s submission is titled a “Trial Brief,” rather than a motion seeking to convert the scheduled
jury trial to a hearing, in a fairly blatant effort to avoid being called out for filing an untimely pretrial motion. No
matter how styled, however, a request for the Court to act is a motion, see FED. R. CIV. P. 7(b)(1) (“A request for a
court order must be made by motion.”), and plaintiffs correctly point out that Giuliani’s motion is untimely, Pls.’
Opp’n at 4–7. Nevertheless, the merits of this request are addressed for clarity of the Court’s reasoning should this
issue be raised on any appeal.

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Giuliani sweeps these arguments aside to argue that “where a party has been defaulted as a

sanction, a jury trial is improper.” Def.’s Reply at 3. Neither side’s position reflects the majority

view of applicable law.

        At the outset, the D.C. Circuit has not addressed the precise issue presented here, namely:

whether a plaintiff’s constitutional and procedural right to a jury trial on damages survives the

entry of default as to liability against a defendant, who has appeared but been sanctioned with

default for repeated failure to comply with discovery obligations and orders. See FED. R. CIV. P.

37(b)(2)(A)(vi) (authorizing sanctions if a party “fails to obey an order to provide or permit

discovery . . . [that] may include . . . rendering a default judgment against the disobedient party”);

id., 37(e)(2)(C) (authorizing, “[i]f electronically stored information that should have been

preserved in the anticipation or conduct of litigation is lost because a party failed to take reasonable

steps to preserve it . . . the court . . . may . . . enter a default judgment” “only upon finding that the

party acted with the intent to deprive another party of the information’s use in the litigation”).

        In a different procedural posture, where default was entered against a defendant for failure

to appear and plaintiff unilaterally withdrew the jury trial demand, the D.C. Circuit, in dicta, has

suggested that the defendant’s own right to a jury trial on damages is entitled to protection. In

Barber v. Turberville, 218 F.2d 34 (D.C. Cir. 1954), after vacating the default judgment entered

when defendant failed to appear or file an answer due to the defense attorney’s “excusable

neglect,” the Court went on to say, though “unnecessary for us to pass upon the point,” id. at 35–

36, “[i]t may well seem that even after default, the issue as to damages should have been submitted

to the jury in accordance with the provisions of Rule 55(b), Federal Rules of Civil Procedure, at

least to determine the amount of damages,” id. at 37 (internal quotation marks and citation

omitted). Recognizing that even with default as to liability, a defendant is entitled to contest the



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amount of the damages, the Court stated, “[s]urely, in a case such as this, it is the better practice,

if not actually compelled, that the issue as to damages be submitted to the jury,” id., and directed

that, on remand, “[u]nless the parties shall consent to waive a jury trial, a new trial before a jury

will be had on all issues,” id. (citations omitted). 2 Barber has limited usefulness here, however,

both because the Court’s consideration of the effect of a defendant’s default on the jury trial right

is merely dicta—which seemingly underscored the Court’s view of the defendant’s unfair

treatment due to attorney negligence, a consideration also animating the vacatur of default—and

because, in direct contrast to the parties’ positions in this case, the Barber plaintiff withdrew the

jury demand without defendant’s consent, prompting the defendant to claim a Seventh Amendment

violation. Of course, the parties’ positions are reversed here: plaintiffs continue to assert their jury

demand and Giuliani seeks a bench trial on damages.

         Whatever the precedential value of Barber on the issue of default’s impact on the jury trial

right in the circumstances presented in this case, the overwhelming weight of authority, albeit from

outside this circuit, supports two inter-related guiding principles. First, by failing to appear to

answer a summons, a non-appearing defaulted defendant waives any right to a jury trial the

defendant may otherwise hold. Sells v. Berry, 24 F. App’x 568, 571–72 (7th Cir. 2001) (holding

that non-appearing defaulted defendant was not entitled to jury trial on issue of damages or

liability); Matter of Dierschke, 975 F.2d 181, 185 (5th Cir. 1992) (“Assuming that [defaulted

defendant] had the right to a jury trial he waived that right when he purposefully chose not to

answer the suit and timely request such a trial.”); Adriana Int’l Corp. v. Thoeren, 913 F.2d 1406,


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            This was not the unanimous view of the panel, since the dissenting judge added his views to this dicta,
explaining that “I think that the right to jury trial which a defendant would have in a civil action does not survive his
failure to appear in any manner in the action . . . . His failure to respond to the summons ought to be construed as a
waiver of whatever procedural rights he has; it ought not to be treated as an impregnable insistence upon such rights.”
Barber, 218 F.2d at 38–39 (Prettyman, J., dissenting). As discussed, infra, this dissenting view has emerged in the
nearly seventy years since Barber was decided to accord with the majority view.

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1414 (9th Cir. 1990) (counter-defendant against whom default judgment was entered as discovery

sanction “has no right to jury trial” on damages); Teri Woods Publ’g, L.L.C. v. Williams, No. 12-

cv-4854, 2013 WL 6179182, at *4 (E.D. Pa. Nov. 25, 2013) (“hold[ing] that Defendants’ right to

a jury trial as to damages has been abrogated by Defendants’ total neglection resulting in default

judgment in the matter before this Court”); Lumbermen’s Mut. Cas. Co. v. Holiday Vehicle Leasing

Inc., No. 02-cv-137 (LAK) (MHD), 2003 WL 1797888, at *1 (S.D.N.Y. Apr. 4, 2003) (“[A]

default based on inaction by the defendant deprives that party of any preexisting right to a jury[.]”

(citations omitted)). Plaintiffs acknowledge this principle that “[a] defaulting or non-appearing

defendant can be understood to have waived his Seventh Amendment right to a jury trial,” but

contend that “the actions of such a defendant cannot abrogate the right of a plaintiff who has made

a proper jury demand.” Pls.’ Opp’n at 13 (emphasis in original). As plaintiffs posit, “it would be

perverse to reward Defendant Giuliani’s willful misconduct by stripping Plaintiffs of a jury trial

right that they have consistently sought to vindicate.” Id. at 14 (emphasis in original).

       “Perverse,” maybe, but the second guiding principle to emerge from the caselaw, is that

the majority of courts have concluded the jury trial right is extinguished for a plaintiff, too, whether

default was entered due to the defendant’s failure to appear and answer, or for some other reason.

See 10A Charles Alan Wright, et al., FED. PRACTICE & PROCEDURE § 2688 (4th ed. 2023)

(collecting cases holding that following default, “neither side has a right to a jury trial on

damages”); 8 MOORE’S FEDERAL PRACTICE – CIVIL § 38.34 (2023) (“[T]he courts have held that

there is no constitutional right to jury trial on the assessment of damages after a default.”). As the

Fifth Circuit stated, in a case involving a non-appearing defaulted defendant, “in a default case

neither the plaintiff nor the defendant has a constitutional right to a jury trial on the issue of

damages.” Matter of Dierschke, 975 F.2d at 185 (citing 5 MOORE’S FEDERAL PRACTICE – CIVIL §



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38.19[3] (1992)); see also Olcott v. Delaware Flood Co., 327 F.3d 1115, 1124 (10th Cir. 2003)

(“Following the entry of default [for discovery violations] under [Federal Rule of Civil Procedure]

37(b)(2), a party does not have a right to a jury trial[.]” (citation omitted)); Graham v. Malone

Freight Lines, Inc., 314 F.3d 7, 16 (1st Cir. 1999) (holding plaintiff was “not entitled to a jury trial

on damages” in case of non-appearing defaulted defendants).

       As support for this second principle that, post-default, no party to the suit has a right to a

jury trial on any claim nor on damages, some courts have relied on an interpretation of the federal

procedural rules. Specifically, while Rule 38(a) preserves “[t]he right of trial by jury as declared

by the Seventh Amendment to the Constitution—or as provided by a federal statute,” Rule

55(b)(2)(B) provides, in pertinent part, as to default judgments that, “[t]he Court may conduct

hearings or make referrals—preserving any federal statutory right to a jury trial—when, to enter

or effectuate a judgment, it needs to . . . determine the amount of damages[.]” Read together, the

majority of courts have concluded that, post-default on liability, Rule 55(b) requires a jury trial on

damages when a federal statute provides this right, but not otherwise. See 10A Charles Alan

Wright, et al., FED. PRACTICE & PROCEDURE § 2688 (4th ed. 2023) (“Rule 55(b)(2) . . . provides

that the court must preserve any federal statutory right of trial by jury[,]” but “neither side has a

right to a jury trial on damages.” (citations omitted)); 8 MOORE’S FEDERAL PRACTICE – CIVIL §

38.34 (2023) (“Rule 55 requires jury trial on the amount of damages after default when there is a

statutory right to jury trial. However, the Rule does not preserve the right to jury trial after

default.”); see also Adriana Int’l Corp., 913 F.2d at 1414 (“[A]fter a default judgment has been

entered under Fed. R. Civ. P. 37(b)(2), a party has no right to jury trial under either Fed. R. Civ.

P. 55(b)(2), which authorizes a district court to hold an evidentiary hearing to determine the

amount of damages, or the Seventh Amendment.” (citing Henry v. Sneiders, 490 F.2d 315 (9th



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Cir. 1974))); Oppenheimer v. Johnson, No. 1:19-cv-00240 (MR), 2020 WL 4227472, at *5–6

(W.D.N.C. July 23, 2020) (in case involving non-appearing defaulted defendant, concluding “that

the Plaintiff has no constitutional or statutory right to a jury trial here,” and denying plaintiff’s

request to exercise discretion to impanel a jury to assess his damages); Armeni v. Transunion LLC,

Inc., No. 3:15-cv-00066, 2016 WL 7046839, at *3 (W.D. Va. Dec. 2, 2016) (“As for any statutory

right that Rule 38(a) might protect, Plaintiff has identified neither a provision of the [Fair Credit

Reporting Act] that guarantees a jury trial nor a case so holding.”); Frankart Distribs., Inc. v.

Levitz, 796 F. Supp. 75, 76 (E.D.N.Y. 1992) (“By referring to a right to a jury trial as required by

‘any statute,’ Rule 55 presupposes that a default judgment extinguishes the constitutional right to

a jury trial.”). 3

         Given this authority in construing Rule 55(b), plaintiffs strain to fit within this Rule’s

embedded clause “preserving any federal statutory right to a jury trial,” by contending that

“[b]ecause the Federal Rules are promulgated pursuant to the Rules Enabling Act, 28 U.S.C. §

2072,” Rule 38(a) itself “constitutes a statutory entitlement to a jury trial for purposes of Rule


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            In reply, Giuliani argues that “[a]ll known authority holds that, where a party has been defaulted as a
sanction, a jury trial is improper,” Def.’s Reply at 3, and that a court retains discretion to hold a jury trial on damages
“only in situations of a ‘no answer’ default — not where the default was issued under FRCP 37 as a sanction,” id. at
2–3 (emphasis omitted) (citing Mwani, 244 F.R.D. 20, and Barber, 218 F.2d 34). This is incorrect and not supported
by the cases he cites. Contrary to Giuliani’s observation, some courts have, in fact, concluded that, notwithstanding
Rule 55(b)(2)’s requirements for a determination of damages, Rule 38(d), which states that a jury demand may be
withdrawn only if the parties consent, extends to an appearing defendant after an entry of default, including as a
sanction. See, e.g., Zero Down Supply Chain Solutions, Inc. v. Global Transp. Solutions, Inc., 282 F.R.D. 604, 605–
07 (D. Utah 2012) (jury required to determine damages because plaintiff may not unilaterally withdraw demand for a
jury after defendants found in default for “fail[ure] to comply with discovery requests or to participate in the litigation
of the case in any meaningful way”); see also Kormes v. Weis, Voisin & Co., Inc., 61 F.R.D. 608, 610 (E.D. Pa. 1974)
(“apply[ing] the consent requirement of Rule 38(d) to the default situation of Rule 55(b)(2),” and “exercise[ing] []
discretion to grant a jury trial” to appearing defaulted defendant limited to the issue of damages). Moreover, the
Mwani Court recognized, without qualification, a district court’s “discretionary determination” to decide “whether a
jury or bench trial should be held” in a case involving non-appearing defaulted defendants. 244 F.R.D. at 26.
Likewise, the Barber Court, in dicta, rejected a plaintiff’s unilateral withdrawal of a jury demand, without the belated
appearing, defaulted defendant’s consent. 218 F.2d at 37. Contrary to Giuliani’s contention, an appearing defaulted
defendant, who contests issues relevant to a damages determination, is precisely the circumstance where a hearing or
jury determination would be helpful, as Rule 55(b)(2) contemplates.



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55(b)(2) in all cases where a jury trial is constitutionally required.” Pls.’s Opp’n at 10 n.6. Yet,

plaintiffs “point to no specific statute (as referenced in the text of Rule 38(a)) that guarantees the

Parties in this case the right to a trial by jury,” and the weight of authority “reject[s] Plaintiffs’

claim that the Federal Rules of Civil Procedure and the Seventh Amendment trigger a right to a

jury determination of damages with respect to a Rule 55(b) evidentiary motion.” Mwani v. Bin

Ladin, 244 F.R.D. 20, 23–24 (D.D.C. 2007) (emphasis in original) (citations omitted); see also

Armeni, 2016 WL 7046839, at *3 (“[C]ourts have interpreted the language of Rule 55 as preserving

a right to a jury trial only in the atypical situation where a statute specifically preserves the jury

trial right even after a default,” which “is not implicated here.” (quoting Manno v. Tenn. Prod.

Ctr., Inc., 657 F. Supp. 2d 425, 429–30 (S.D.N.Y. 2009))).

       Given the lack of clear binding precedent in this Circuit, this Court assumes without

deciding that plaintiffs may have no absolute right, under the Seventh Amendment or by statute,

to a jury trial on damages after entry of default on liability as a sanction for Giuliani’s willful

failure to comply with his discovery obligations, but that this Court retains discretion to “order a

jury trial as to damages in a default situation if it seems,” as is the case here, “the best means of

assessing damages.” 10A Charles Alan Wright, et al., FED. PRACTICE & PROCEDURE § 2688 (4th

ed. 2023); see also Bonilla v. Trebol Motors Corp., 150 F.3d 77, 82 (1st Cir. 1998) (“[A] defaulting

defendant is not entitled to a jury trial on damages, although the court may choose to afford one.”

(citation omitted)); Mwani, 244 F.R.D. at 26 (recognizing that “the question of whether a jury or

bench trial should be held on the issue of damages is a discretionary determination to be made by

the Court”); KD v. Robeson, No. 8:17-cv-285, 2020 WL 836738, at *3 (D. Neb. Feb. 20, 2020),

aff’d sub nom. KD v. Douglas Cnty. Sch. Dist. No. 001, 1 F.4th 591 (8th Cir. 2021) (recognizing

courts’ “discretion to order a jury trial as to damages after default judgment if it appears to be the



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best way to assess damages” (citations omitted)); Armeni, 2016 WL 7046839, at *3–4 (exercising

discretion to empanel a jury given “considerations of fairness,” the fact that the “types of damages

[sought by plaintiff] are particularly within the province of a jury,” and that “[d]efendant does not

argue that it would suffer prejudice”); Crowley v. Chait, No. 85-cv-2441 (HAA), 2006 WL

8445672, at *8 (D.N.J. Mar. 7, 2006) (permitting jury to determine damages as to a defaulting

defendant, noting that the Third Circuit “has countenanced the practice” (citing Hutton v. Fisher,

359 F.2d 913, 916 (3d Cir. 1966))); Kormes v. Weis, Voisin & Co., 61 F.R.D. 608, 610 (E.D. Pa.

1974) (“Under the facts of the present case, we will . . . in the exercise of our discretion grant a

jury trial to [defaulted] defendant [] limited to the issue of damages.”).

       Judicial authority to respect a plaintiff’s jury demand and conduct a jury trial on damages

after entry of default against a defendant on liability derives from the Court’s exercise of inherent

authority, as sanctioned in the federal procedural rules. Indeed, Rule 55(b)(2) provides that the

Court, following the entry of default judgment, may “conduct hearings or make referrals . . . [to]

determine the amount of damages,” FED. R. CIV. P. 55(b)(2), and Federal Rule 39(c)(1) authorizes

the Court to “try any issue with an advisory jury” in any action “not triable of right by a jury,”

FED. R. CIV. P. 39(c)(1); accord Hamm v. Nasatka Barriers Inc., 166 F.R.D. 1, 3 (D.D.C. 1996)

(“find[ing] in [the Court’s] discretion that the rendering of an advisory verdict by a jury would be

both helpful and appropriate in this [Federal Tort Claims Act] case”).

       Here, several considerations favor use of a jury to determine the sole remaining issue as to

the quantification of compensatory and punitive damages. First, plaintiffs have demanded a jury

trial since the filing of their complaint and, absent Giuliani’s willful discovery misconduct

warranting the sanction of default, plaintiffs’ jury trial right would be fully protected under the

Seventh Amendment. For a plaintiff to lose that protected jury right in these circumstances seems



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patently unfair and may be a reason, though not articulated in the advisory notes to the procedural

rules, that courts are granted leeway to conduct “hearings or make referrals” as needs require. FED.

R. CIV. P. 55(b)(2).

       Second, as the D.C. Circuit has opined, “[a] default by a defendant does not concede the

amount of damages[,] but only that the plaintiff is entitled to recover some damages,” Barber, 218

F.2d at 37, leaving the defaulting defendant “entitled to contest the amount of the damages,” id.;

see also United States v. Di Mucci, 879 F.2d 1488, 1497 (7th Cir. 1989) (“Although upon default,

the well-pleaded allegations of a complaint relating to liability are taken as true, allegations in a

complaint relating to the amount of damages suffered ordinarily are not.” (citations omitted)); U.S.

Sec. & Exch. Comm’n v. China Infrastructure Inv. Corp., 189 F. Supp. 3d 118, 128 (D.D.C. 2016)

(Howell, C.J.) (noting that “[a]lthough default judgment establishes the defaulting party’s liability

for every well-pleaded allegation in the complaint, it does not automatically establish liability in

the amount claimed by the plaintiff” (quoting Carazani v. Zegarra, 972 F. Supp. 2d 1, 12 (D.D.C.

2013))). Giuliani most certainly contests the amount of damages he owes to plaintiffs in this case.

See JPTS, App. E, Def.’s Obj. Pls.’ Proposed Jury Instructions at 3 (“Defendant objects . . . because

[the Default Judgment Decision] does not determine, as a matter of law, that Plaintiffs are entitled

to anymore [sic] than per se nominal damages.”). Moreover, he plans to raise factual challenges

to the scope and extent of damages owed and to cross examine plaintiffs and their experts about

any claimed harm. See JPTS at 7 (plaintiffs “will be cross-examined on the alleged damages

resulting from Giuliani’s conduct”); id. (“plaintiffs’ expert “will be cross-examined on her

opinions regarding the alleged damages resulting from Giuliani’s conduct”); id., App. E, Def.’s

Obj. Pls.’ Jury Instr. at 3 (objecting to plaintiffs’ proposed jury instruction because Default

Judgment Decision “does not determine, as a matter of law, that Plaintiffs are entitled to anymore



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[sic] than per se nominal damages”). Quantification of damages, particularly where, as here, such

calculation will require resolution of factual disputes and credibility assessments, falls within the

traditional province of a jury. See Carter v. Duncan-Huggins, Ltd., 727 F.2d 1225, 1234 (D.C.

Cir. 1984) (“an evaluation of witness credibility is the exclusive function of the jury”); Turley v.

ISG Lackawanna, Inc., 774 F.3d 140, 162 (2d Cir. 2014) (“The ‘calculation of damages is the

province of the jury[.]’” (quoting Ismail v. Cohen, 899 F.2d 183, 186 (2d Cir. 1990))); Alkire v.

Marriott Int’l, Inc., No. 03-cv-1087, 2007 WL 1041660, at *9 (D.D.C. Apr. 5, 2007) (“[t]ranslating

legal damage into money damages—especially in cases which involve few significant items of

measurable economic loss—is a matter purely within a jury’s ken” (quoting Ruiz v. Gonzalez

Caraballo, 929 F.2d 31, 34 (1st Cir. 1991))); Byrd v. Admiral Moving & Storage, Inc., No. 04-cv-

1420 (AK), 2006 WL 8460326, at *4 (D.D.C. Mar. 30, 2006) (same); H.S.A. v. Bragg, No. 1:21-

cv-00054, 2021 WL 3545065, at 3 & n.2 (M.D. Pa. Aug. 11, 2021) (exercising discretion to hold

one-day jury trial to make a damages determination against non-appearing defaulted defendant to

“permit Plaintiff to provide medical testimony and other information in support of her allegations

of serious harm and emotional distress, and in support of her request for punitive damages,” noting

that “[d]amages of this nature are particularly within the province of a jury” (internal quotation

marks and citation omitted)); Armeni, 2016 WL 7046839, at *4 (exercising discretion to hold jury

trial on damages against defaulting defendant, noting that “Plaintiff seeks actual damages in the

form of emotional, mental, and physical distress” and “[t]hese types of damages are particularly

within the province of a jury” (collecting cases)).

       This case, then, presents circumstances wholly different from cases involving non-

appearing or “no answer” defaulted defendants, who by not appearing indicated no intent to defend

against the quantification of damages. In such cases, courts have generally declined to exercise



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discretion to empanel a jury to determine damages since “[w]hen only one side is presented, the

underlying function of the jury (in civil cases) is largely absent[,] [and] [t]herefore, the Court is

better suited to determine what damages have been proven where there has been a default.”

Oppenheimer, 2020 WL 4227472, at *6; see also Robeson, 2020 WL 836738, at 3–4 & n.1

(declining to exercise discretion to hold jury damages trial where defaulting defendant “has shown

no intention of defending against Plaintiffs’ claims for damages”); Teri Woods Publ’g, L.L.C.,

2013 WL 6179182, at *5 (acknowledging judicial discretion to hold jury damages trial against

defaulted defendants, but “[i]n light of Defendants’ complete lack of participation in this litigation,

we do not believe a hearing would be prudent”).

       Third, in addition to compensatory damages on their claims of defamation, intentional

infliction of emotional distress and civil conspiracy to commit those torts, plaintiffs seek punitive

damages. Any award of punitive damages is generally “determined by a jury,” subject only to

“review[] by trial and appellate courts to ensure that it is reasonable.” Exxon Shipping Co. v.

Baker, 554 U.S. 471, 495 (2008) (quoting Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 15 (1991)).

       Finally, the untimeliness of Giuliani’s objection to a jury trial on damages, if approved,

would force plaintiffs to change course in how they are presenting their case shortly before trial.

This would just compound the procedural unfairness to which plaintiffs have already been

subjected by Giuliani’s willful failure to comply with his discovery obligations. This counsels in

favor of this Court exercising its discretion to empanel a jury to determine plaintiffs’ damages.

Accord Burton v. Gen. Motors Corp., No. 1:95-cv-1054 (DFH) (TAB), 2008 WL 3853329, at *7

(S.D. Ind. Aug. 15, 2008) (recognizing the court’s “discretion to decide whether a motion to strike

a jury demand is timely or too late,” “consider[ing] issues such as judicial economy and whether

the opposing party will be prejudiced by trying her case to a court instead of a jury”) (citations



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omitted). Indeed, Giuliani had been on notice of the post-default jury trial on damages since

August 30, 2023, and only raised concern less than one month before the scheduled start of trial,

all while conferring with plaintiffs in preparation for a jury trial, including regarding proposed

deadlines for a jury trial, see Parties’ Joint Proposed Pretrial and Trial Schedule at 2–3, and joining

the parties’ joint pretrial submission containing jury-related materials, including joint proposed

voir dire questions, a joint proposed jury verdict form, and a competing set of proposed jury

instructions, see JPTS, App. C, Joint Proposed Voir Dire; id., App. F, Joint Proposed Verdict Form;

id., App. E, Def.’s Obj. Pls.’ Proposed Jury Instr.

         While accepting as the explanation for the delay that defense counsel “did not discover the

applicable case law until he began preparing for the pre-trial submission,” Def.’s Reply at 1, and

appreciating defense counsel’s prompt communication thereafter in a two-sentence email to

plaintiffs’ counsel about this issue, id., Ex. A, Defense Counsel’s Nov. 1, 2023 Email, the fact

remains that the filing of defendant’s “Trial Brief” on November 20, 2023, was significantly tardy,

more than one month beyond the October 16 pretrial motions deadline proposed by the parties and

ordered by the Court, see Minute Order (Sept. 20, 2023). Meanwhile, plaintiffs “have expended

considerable resources researching and assembling the jury instructions and voir dire

questionnaire, preparing opening and closing presentations, researching evidentiary rules and

precedents applicable to jury trials, and preparing witness examinations designed for a jury

presentation.” Pls.’ Opp. at 6–7. 4 Converting the damages jury trial to a bench trial would



         4
            Giuliani attempts to shift blame onto plaintiffs for any prejudice resulting from a potential conversion from
a jury to a bench trial, contending that “[p]laintiffs had the opportunity to forego any of the pretrial work to prepare
for a jury trial” once Giuliani’s counsel emailed plaintiffs’ counsel on November 1, 2023. Def.’s Reply at 2. This is
simply nonsense. Giuliani’s counsel’s two-sentence email cited three out-of-circuit, non-binding cases, dated between
thirty and nearly fifty years ago, without any express statement that Giuliani planned to seek a bench trial or that he
would do so in reliance on this cited authority. Id., Ex. A, Defense Counsel’s Nov. 1, 2023 Email (quoting, without
any other discussion, Goldman, Antonetti, Ferraiuoli, Axtmayer & Hertell v. Medfit Int’l, Inc., 982 F.2d 686, 692 (1st
Cir. 1993), and citing Adriana Int’l Corp., 913 F.2d at 1414, and Eisler v. Stritzler, 535 F.2d 148, 153 (1st Cir. 1976)).

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prejudice plaintiffs not only, as already noted, by making them change course so close to trial, but

also by making them incur expense and expend resources unnecessarily due to the tardy filing.

See Burton, 2008 WL 3853329, at *7 (“The parties conducted discovery and prepared for trial with

the understanding that all claims would be tried to a jury.”).

         Giuliani switches gears in reply to assert for the first time that he would “be severely

prejudiced” by a jury trial “because a default sanction is inherently prejudicial” and he would not

“get a fair trial on damages with a jury who is being read the contents of the Court’s Sanctions

Orders[.]” Def.’s Reply at 2–4. The irony of this assertion must be highlighted, given the many

opportunities Giuliani was afforded to comply with his discovery obligations but to no avail, and

the further opportunities Giuliani was afforded to be heard on any adverse instructions to be given

to the jury, but he consented to those instructions. 5 Giuliani’s own discovery misconduct

necessitated the entry of default judgment against him, and this Court will not reward him for

conduct that has “already [] resulted in significant prejudice to Plaintiffs,” Pls.’ Opp. at 7,

particularly where “Giuliani’s delay [would] inflict additional costs on Plaintiffs that were entirely



This is a wholly insufficient communication or notice to expect plaintiffs to press pause on their preparations for the
damages jury trial.
          5
            Examples of these opportunities provided to Giuliani to comply with his discovery obligations and avoid
or contest adverse instructions include: (1) granting the parties’ motion for a six-month extension of discovery
deadlines to facilitate resolution of “issues raised in [plaintiffs’] Deficiency letter” regarding Giuliani’s deficient
discovery responses, see Joint Mot. to Extend Discovery, ECF No. 28 at 3–4; Minute Order (Aug. 31, 2022); (2)
affording Giuliani a two-week extension to comply with the Court’s May 31, 2023 Minute Order compelling
discovery, see Minute Order (June 16, 2023); (3) providing Giuliani an additional 35 days to comply with the May
31, 2023 Minute Order, see Minute Order (July 13, 2023); (4) affording Giuliani additional time to produce relevant
financial records to avoid more stringent adverse instructions, Default Judgement Decision, 2023 WL 5600316, at
*23, but he declined to make any further production, see Additional Sanctions Order at 2; (5) permitting Giuliani to
“file any response to plaintiffs’ request for additional sanctions” containing requests for adverse evidentiary inferences
following Giuliani’s failure to comply with the Court’s Default Judgment Decision, see Minute Order (Sept. 22, 2023);
and (6) Giuliani consented to plaintiffs’ motion in limine requesting the exclusion of “any argument or evidence . . .
that contradicts any of this Court’s previous orders in this case, including . . . entered adverse inferences,” Consent
Motion In Limine at 1–2, ECF No. 103 (“[C]ounsel for Plaintiffs and Defendant Rudolph W. Giuliani . . . conferred,
and defense counsel confirmed that he consents to the requested relief herein.”); see also Order Granting Consent
Motion In Limine at 3, ECF No. 108 (directing the exclusion at trial of “evidence or argument . . . that contradicts any
of this Court’s previous orders in this case, including . . . entered adverse inferences”).

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avoidable had [he] exercised reasonable diligence,” id.; see also Armeni, 2016 WL 7046839, at *4

(exercising discretion to grant plaintiff’s request for a jury trial where, “[a]s it is, Defendant’s

failure to defend has the effect of depriving Plaintiff of his jury right[,] [and] “refusing to grant a

discretionary trial would punish Plaintiff for obtaining a default and reward Defendant for it”).

       In sum, having already scuttled plaintiffs’ right to “obtain relevant evidence both to support

their claims and rebut any defenses,” Default Judgment Decision, 2023 WL 5600316, at *12,

Giuliani will not now be rewarded with his effort to abrogate plaintiffs’ properly pleaded demand

for a jury trial on damages, particularly under the circumstances of the instant case, where the

quantification of damages, an issue Giuliani contests, will require the evaluation of witness

credibility and the resolution of factual disputes—matters within “the exclusive function of

the jury,” Huggins, Ltd., 727 F.2d at 1234—and where sustaining Giuliani’s tardy objection to a

jury trial would compound the prejudice to plaintiffs. Pursuant to this Court’s inherent authority,

as contemplated by Federal Rules of Civil Procedure 55(b)(2)(B) and 39(c)(1), the jury trial

scheduled to begin December 11, 2023, will proceed.

III.   CONCLUSION

       For the reasons set forth above, it is hereby:

       ORDERED that defendant Rudolph W. Giuliani’s Trial Brief on Propriety of Jury Trial

and Objection to Jury Trial, ECF No. 107, which is construed as a motion to convert the scheduled

jury trial to a bench trial, is DENIED.

       SO ORDERED.

       Date: December 3, 2023
                                                        __________________________
                                                        BERYL A. HOWELL
                                                        United States District Judge




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